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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

IN RE:                                               §                 CHAPTER 11
                                                     §
NATIONAL RIFLE ASSOCIATION                           §                 CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,                         §
                                                     §
        DEBTORS1                                     §                 Jointly Administered


      GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS, AND
      DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (the “Debtors”) in these chapter 11
cases, with the assistance of their advisors, are filing their respective Schedules of Assets and
Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements” or “SOFAs”, and
together with the Schedules, the “Schedules and Statements”) with the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) pursuant to pursuant to section
521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes, Methodology, Statement of Limitations, and Disclaimers Regarding the
Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively, the
“Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of, each
Debtor’s Schedules and Statements. The Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor are
they intended to be fully reconciled with the financial statements of each Debtor (whether publicly
filed or otherwise). Additionally, the Schedules and Statements contain unaudited information that is
subject to further review and potential adjustment, and reflect the Debtors’ reasonable efforts to report
the assets and liabilities of each Debtor on an unconsolidated basis.

        ln preparing the Schedules and Statements, the Debtors relied upon information derived from
their books and records that was available at the time of such preparation. Although the Debtors have
made reasonable efforts to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.
1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The Debtors’
mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


GLOBAL NOTES, METHODOLOGY, STATEMENT OF LIMITATIONS AND DISCLAIMERS REGARDING
THE DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS                       PAGE 1
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        The Debtors and their officers, employees, agents, attorneys, and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules and
Statements and shall not be liable for any loss or injury arising out of or caused in whole or in part by
any act or omission, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained in the Schedules and Statements.
Except as expressly required by the Bankruptcy Code, the Debtors and their officers, employees,
agents, attorneys, and financial advisors expressly do not undertake any obligation to update, modify,
revise or re-categorize the information provided in the Schedules and Statements or to notify any third
party should the information be updated, modified, revised, or re- categorized.

        David Warren has signed each of the Schedules and Statements. Mr. Warren is an authorized
signatory for the Debtors. In reviewing and signing each of the Schedules and Statements, Mr. Warren
has relied upon the efforts, statements, representations of various personnel employed by the Debtors
and their advisors. Mr. Warren has not (and could not have) personally verified the accuracy of each
such statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses. Neither the Schedules and Statements, nor the Global
Notes, should be relied upon by any persons for information relating to current or future financial
conditions, events, or performance of the Debtors.

                                               Global Notes

1.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The Debtors
reserve all rights to amend or supplement the Schedules and Statements from time to time, in all
respects, as may be necessary or appropriate (including, without limitation): (a) the right to amend
the Schedules and Statements with respect to a claim (“Claim”) description, designation, or Debtor
against which the Claim is asserted; (b) dispute or otherwise assert offsets or defenses to any Claim
reflected in the Schedules and Statements as to amount, liability, priority, status, or classification; (c)
subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” and/or (d) object
to the extent, validity, enforceability, priority, or avoidability of any Claim). Any failure to designate
a Claim in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor against
which the Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
cases, including, without limitation, issues involving Claims, substantive consolidation, defenses,
equitable subordination, recharacterization, and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or
avoid transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph. Notwithstanding the
foregoing, the Debtors shall not be required to update the Schedules and Statements except as may
be required by applicable law.




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2.       Description of Chapter 11 Cases and “As of” Information Date. On January 15, 2021 (the
“Petition Date”), each of the Debtors filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code. The Debtors continue to operate their business and manage their properties as
debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’
chapter 11 cases are being jointly administered pursuant to Bankruptcy Rule 1015(b). The Debtors’ assets and
liabilities are reported as of the Petition Date, except as otherwise noted.

3.       Net Book Value of Assets. lt would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations for each of their
assets. Accordingly, unless otherwise indicated, the Schedules and Statements reflect the net book
value of the Debtors’ assets as of the Petition Date. Furthermore, as applicable, assets that have fully
depreciated or were expensed for accounting purposes may not be reflected in the Schedules and
Statements as they have no net book value. The Debtors reserve their right to amend or adjust the value
of each asset or liability set forth in the Schedules and Statements.

4.       Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
characterize, classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
leases, postemployment benefits, and other items reported in the Schedules and Statements, the
Debtors may, nevertheless, have improperly characterized, classified, categorized, designated, or
omitted certain items. Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify,
re-categorize, re-designate, add, or delete items reported in the Schedules and Statements at a later
time as is necessary or appropriate as additional information becomes available, including, without
limitation, whether contracts or leases listed herein were deemed executory or unexpired as of the
Petition Date and remain executory and unexpired post-petition. Disclosure of information in one or
more Schedules, one or more Statement questions, or one or more exhibits or attachments to the
Schedules and Statements, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedules, Statements, exhibits, or attachments.

5.       Liabilities. The Debtors have sought to allocate assets and liabilities between the prepetition
and post-petition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and further
research is conducted, the allocation of liabilities between the prepetition and post-petition periods
may change. Accordingly, each Debtor reserves all rights to amend, supplement, or otherwise modify
its Schedules and Statements as is necessary or appropriate.

       The liabilities listed on the Schedules do not reflect any analysis of Claims under Bankruptcy
Code section 503(b)(9). Accordingly, the Debtors reserve all of their rights to dispute or challenge
the validity of any asserted Claims under Bankruptcy Code section 503(b)(9) or the characterization
of the structure of any such transaction or any document or instrument related to any creditor’s Claim.

6.      Insiders. For the purposes of the Schedules and Statements, the Debtors defined “insider”
pursuant to Bankruptcy Code section 101(31) as: (a) directors; (b) officers; (c) persons in control of
the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of the Debtors; and
(e) debtor/non-debtor affiliates of the foregoing. The parties identified as “insiders” have been


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included for informational purposes only and the inclusion of them in the Schedules and Statements
shall not constitute an admission that those persons are insiders for purposes of Bankruptcy Code
section 101(31). The Debtors do not take any position with respect to: (a) such person’s influence
over the control of the Debtors; (b) the management responsibilities or functions of such individual; (c)
the decision-making or corporate authority of such individual; or (d) whether such individual could
successfully argue that he or she is not an “insider” under applicable law, including, without limitation,
the federal securities laws or with respect to any theories of liability or for any other purpose.

7.       Intellectual Property Rights. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned, terminated,
assigned, expired by their terms, or otherwise transferred pursuant to a sale, acquisition, or other
transaction. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such intellectual property rights.

8.       Executory Contracts and Unexpired Leases. Although the Debtors have made diligent
attempts to identify contracts and unexpired leases within the scope of Bankruptcy Code section 365,
in certain instances, the Debtors may have inadvertently failed to do so. Accordingly, the Debtors
reserve all of their rights with respect to the inclusion or exclusion of executory contracts and
unexpired leases, including the right to amend Schedule G at any time during the pendency of these
chapter 11 cases.

         Listing a contract or agreement on Schedule G does not constitute an admission that such
contract or agreement is an executory contract or unexpired lease. The Debtors reserve all rights to
challenge whether any of the listed contracts, leases, agreements or other documents constitute an
executory contract or unexpired lease, including if any are unexpired non-residential real property
leases. Any and all of the Debtors’ rights, claims, causes of action and defenses with respect to the
contracts and agreements listed on Schedule G are hereby reserved and preserved.

9.      Classification. Listing a Claim, contract or lease on (a) Schedule D as “secured,”
(b) Schedule E/F, Part 1 as “priority unsecured,” (c) Schedule E/F, Part 2 as “Non-priority
unsecured,” or (d) Schedule G as “executory” or “unexpired,” does not constitute an admission by the
Debtors of the legal rights of the claimant, or a waiver of the Debtors’ rights to recharacterize or
reclassify such Claims or contracts or leases or to setoff against such Claims.

10.       Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
“disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the Schedules and
Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by any
Debtor that such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is not
subject to objection. The Debtors reserve all of their rights to dispute, or assert offsets or defenses to,
any Claim reflected on their Schedules and Statements on any grounds, including liability or
classification. Additionally, the Debtors expressly reserve all of their rights to subsequently designate
such Claims as “disputed,” “contingent” or “unliquidated.” Moreover, listing a Claim does not
constitute an admission of liability by the Debtor.




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11.       Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
may not have listed all of their causes of action or potential causes of action against third parties
(collectively, “Causes of Action”) as assets in the Schedules and Statements, including, without
limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
their rights with respect to any: (a) cause of action (including avoidance actions), (b) controversy, (c)
right of setoff, (d) cross-claim, (e) counterclaim, (d) recoupment, and (e) any Claim on contracts or
for breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity, guaranty,
suit, obligation, liability, damage, judgment, account, defense, power, privilege, license, and
franchise of any kind or character whatsoever, known, unknown, fixed or contingent, matured or
unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law, or in equity, or pursuant to any other theory of law they may have, and
neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims
or Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.

12.      Summary of Significant Reporting Policies. The following is a summary of significant
reporting policies:

        a.      Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
                “undetermined,” or similar indication is not intended to reflect upon the materiality of
                such amount.

        b.      Totals. All totals that are included in the Schedules and Statements represent totals of
                all known amounts. To the extent there are unknown or undetermined amounts, the
                actual total may be different than the listed total.

        c.      Liens. The value of assets listed in the Schedules and Statements are presented without
                consideration of any liens that may attach (or have attached) to such property and
                equipment.

13.      Currency. All amounts are reflected in U.S. dollars unless otherwise indicated.

14.     Global Notes Control. ln the event that the Schedules or Statements differ from any of the
foregoing Global Notes, the Global Notes shall control.

                            Specific Notes for Certain Items on Schedules

1.      Schedule A/B, Part 1. Cash and Cash Equivalents. The Schedules and Statements reflect
both cash assets without donor restrictions, representing resources that are not restricted by donor-
imposed stipulations and are available for support of general operations, and net cash assets with donor
restrictions, representing contributions and other inflows of assets whose use are limited by donor-
imposed stipulations. Of the total cash listed by the Debtors, $26,729,029.87 are restricted.




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2.      Schedule A/B, Part 3. Accounts Receivable. Scheduled accounts receivable includes
membership dues payable over time, donor pledges and other receivables. Therefore, the amount of
collectible receivables could be lower than projected depending upon the circumstances.

3.      Schedule A/B Part 4. Of the total investments, $13,116,480.67 are restricted.

4.     Schedule A/B Part 5. The inventory has not been appraised. It is listed at book value. The actual
value may be different.

5.      Schedule A/B Part 9. The current value of the headquarters is based upon a January 2019 appraisal,
so the current value could be different.

Dated: February 15, 2021.

                                                 Respectfully submitted,

                                                 /s/ Patrick J. Neligan, Jr.
                                                 Patrick J. Neligan, Jr.
                                                 State Bar. No. 14866000
                                                 Douglas J. Buncher
                                                 State Bar No. 03342700
                                                 John D. Gaither
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                                                 PROPOSED COUNSEL FOR DEBTORS




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 Fill in this information to identify the case:

 Debtor name         Sea Girt LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-30080
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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 Debtor      Sea Girt LLC                                                                                  Case number (if known) 21-30080



       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.


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                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
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 Debtor      Sea Girt LLC                                                                               Case number (if known) 21-30080



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was            Last balance
                Address                                         account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
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 Debtor      Sea Girt LLC                                                                               Case number (if known) 21-30080




       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Craig Spray                                                                                                                2020 - 2021
                    11250 Waples Mill Road
                    Fairfax, VA 22030

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Craig Spray
                    11250 Waples Mill Road
                    Fairfax, VA 22030

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.


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               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       National Rifle Association                     11250 Waples Mill Road                                                                     100%
       of America                                     Fairfax, VA 22030



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any         Period during which
                                                                                                          interest                           position or interest
                                                                                                                                             was held
       National Rifle Association                     11250 Waples Mill Road                                                                 11/24/2020 -
       of America                                     Fairfax, VA 22030                                                                      Present


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates               Reason for
                                                                property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    National Rifle Association of America                                                                      EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 15, 2021

 /s/ David Warren                                                       David Warren
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Financial Officer - For Profit Entities

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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